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                                                                                          U.S.D.C. - Atlanta
                           WITH CIVIL CASES PENDING
                                    IN THE                                           NOV O7 2024
                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA                              KEV IN P. WEIMER. Clerk
                                                                                  By: ~            Deputy ~erk


                              I. INITIAL DISCLOSURES

A. Plaintifrs Initial Disclosures.

                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                            ~/1-Ntft      DIVISION


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        V.                                Civil Action No. J   ·J_f wCV, 0J23J-5lJ -Jt.P


                         PLAINTIFF'S INITIAL DISCLOSURES

        (1) State precisely the classification of the cause of action being filed, a brief factual
outline of the case including plaintiffs contentions as to what defendant did or failed to do,
and a uccinct statement of the legal issues in the case.                       (      "\
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      (2) Describe in detail all statutes, codes, regulations, legal principles,
standards and customs or usages, and illustrative case law which plaintiff
contends are applicable to this action.
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       (3) Provide the name and, if known, the address and telephone number of each
individual likely to have discoverable information that you may use to support your claims
or defenses, unless solely for impeachment, identifying the subjects of the information.
(Attach witness list to Initial Disclosures as Attachment A.)

        (4) Provide the name of any person who may be used at trial to present evidence under
Rules 702, 703, or 705 of the Federal Rules of Evidence. For all experts described in
Fed.R.Civ.P. 26(a)(2)(B), provide a separate written report satisfying the provisions of that
rule. (Attach expert witness list and written reports to Responses to Initial Disclosures as
Attachment B.)

       (5) Provide a copy of, or a description by category and location of, all documents, data
compilations or other electronically stored information, and tangible things in your possession,
custody, or control that you may use to support your claims or defenses unless solely for
impeachment, identifying the subjects of the information. (Attach document list and
descriptions to Initial Disclosures as Attachment C.)

       (6) In the space provided below, provide a computation of any category of damages
claimed by you. In addition, include a copy of, or describe by category and location of, the
documents or other evidentiary material, not privileged or protected from disclosure, on which
such computation is based, including materials bearing on the nature and extent of injuries
suffered, making such documents or evidentiary material available for inspection and copying


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as under Fed.R.Civ.P. 34. (Attach any copies and descriptions to Initial Disclosures as
Attachment D.)
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        (7) Attach for inspection and copying as under Fed.R.Civ.P. 34 any insurance
agreement under which any person carrying on an insurance business may be liable to satisfy
part or all of a judgment which may be entered in this action or to indemnify or reimburse for
payments made to satisfy the judgment. (Attach copy of insurance agreement to Initial
Disclosures as Attachment E.)

         (8) Disclose the full name, address, and telephone number of all persons or legal
entities who have a subrogation interest in the cause of action set forth in plaintiffs cause of
action and r.tate the basis and extent of such interest.
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